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                       UNITED STATES DISTRICT COURT FOR THE

                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )         Case No. 1:12-cr-00234-LJO-SKO
                              )
     vs.                      )         ORDER OF DETENTION AFTER VIOLATION
                              )         OF PRETRIAL SERVICES RELEASE
ERNESTINS VILLAREAL-GUERRERO, )
                              )
               Defendant.     )
______________________________)

A.   Order for Revocation and Detention

     After conducting a hearing pursuant to 18 U.S.C. § 3148(b) on the government's
     motion for revocation of the previous order for release, the Court orders the
     previous conditions of pretrial release revoked and this defendant detained.

B.   Statement of Reasons for the Revocation and Detention

     The Court orders the revocation of pretrial release conditions and the
     defendant's detention because it finds:

           (1)   There is probable cause to believe this defendant has committed
                 a Federal, State, or local crime while on release.

                                          or

      X    (2)   There is clear and convincing evidence that this defendant has
                 violated a condition or conditions of release.

                                          and

           (3)   That based on the factors set forth in § 3142(g), there is no
                 condition or combination of conditions of release that will assure
                 that this defendant will not flee or pose a danger to the safety of
                 any other person or the community; or,

      X    (4)   That this defendant is unlikely to abide by any condition or
                 combination of conditions of release.

           (5)   That this defendant has not rebutted the rebuttable presumption
                 contained in 18 U.S.C. § 3148(b) that no condition or combination
                 of conditions will assure that the person will not pose a danger
                 to the safety of any other person or the community based upon the
                 existence of probable cause to believe that, while on release, the
                 defendant committed a Federal, State, or local felony.

     Date:25 March 2013                         /s/ Dennis L. Beck
                                                U.S. Magistrate Judge
